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                                                       U.S. Department of Justice

                                                       Environment and Natural Resources Division

90-1-24-04163
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VIA ELECTRONIC CASE FILING


                                                       April 22, 2016

Clerk’s Office
United States District Court
Northern District of California, San Francisco
450 Golden Gate Avenue, Sixteenth Floor
San Francisco, CA 94102

         Re:      California River Watch v. City of Santa Rosa, United States District Court
                  for the Northern District of California, Case No. 3:15-cv-2349 HSG

Dear Clerk of Court:

      I am writing to notify you that the United States has reviewed the proposed settlement
agreement in the above-captioned case and has no objections to the agreement.

       On March 8, 2016, the Citizen Suit Coordinator for the Department of Justice received a
copy of the proposed settlement agreement for review pursuant to Clean Water Act, 33 U.S.C. §
1365(c)(3). This provision provides, in relevant part:

         No consent judgment shall be entered in an action in which the United States is
         not a party prior to 45 days following the receipt of a copy of the proposed
         consent judgment by the Attorney General and the Administrator.

See also 40 C.F.R. § 135.5 (service on Citizen Suit Coordinator in the U.S. Department of
Justice). A settlement that does not undergo this federal review process is at risk of being void. 1

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  For purposes of the United States’ right of review, the term “consent judgment” in the Clean
Water Act citizen suit provision has a broad meaning, and encompasses all instruments entered
with the consent of the parties that have the effect of resolving any portion of the case. For
example, the United States views a document stipulating to dismissal of a case or any part
thereof would be within the scope of this language. Such documents and any associated
instruments (even if not submitted to the Court) must be submitted to the United States for
review, notwithstanding any provisions purporting to maintain the confidentiality of such
materials. The Department monitors citizen suit litigation to review compliance with this
requirement.
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        In its review, the United States seeks to ensure that a consent judgment complies with the
requirements of the relevant statute and is consistent with its purposes. See Local 93, Int’l Ass’n
of Firefighters v. City of Cleveland, 478 U.S. 501, 525-26 (1986) (a consent decree should
conform with and further the objectives of the law upon which the complaint was based). For
example, if the defendant has been out of compliance with statutory or permit requirements, the
proposed consent judgment should require the defendant to come into prompt compliance and
should include a civil penalty, enforceable remedies, injunctive relief, and/or a supplemental
environmental project (SEP) payment sufficient to deter future violations, or combinations of the
above.

        In its complaint, the plaintiff alleged violations of the Clean Water Act for discharges
from the defendant’s water reclamation system, which includes a wastewater treatment plant,
wastewater storage ponds, and a sewage collection system. In terms of injunctive relief, the
proposed settlement agreement provides that the defendant will continue to complete an
inspection, rating, and evaluation of the existing condition of the gravity sewer collection system
every five years; conduct repairs on those gravity sewer lines rated as “Significantly Defective”;
and complete within seven years an inspection, rating, and evaluation of all gravity sewer lines
except those within 200 feet of the surface. Under the proposed settlement agreement, the
defendant must also augment certain aspects of its response and reporting, such as volume and
flow estimates in its Sewer System Management Plan, the use of photographs, and water quality
sampling; the defendant’s website will also contain a link to the State Water Resources Control
Board’s website on sanitary sewer overflow public reports. Beginning in the 2016-2017
discharge season, the defendant must utilize the formula contained in Section 5 of the proposed
settlement agreement for calculating the total amount of phosphorus that may reach, via
subsurface means, the Laguna de Santa Rosa from the defendant’s recycled water storage ponds.
Under Section 8 of the proposed settlement agreement, the defendant will pay the plaintiff
$70,000 in attorneys’ and experts’ fees and costs.

        The proposed settlement agreement further provides that the defendant will pay $35,000
to the Sonoma County Youth Ecology Corps for a SEP. These funds will be used for the purpose
of performing beneficial water quality projects in the Laguna de Santa Rosa and Santa Rosa
Creek watersheds, including work on trash removal, addressing invasive species, planting of
trees, maintenance of native plants, and restoration areas.

        Where a consent judgment provides for the payment of sums to a third party that is to
undertake an environmentally beneficial project and/or acquire a property interest that will have
environmental benefits, the United States typically requests that the third party provide a letter to
the Court and to the United States representing that it: (1) has read the proposed consent
judgment; (2) will spend any monies it receives under the proposed judgment for the purposes
specified in the judgment; (3) will not use any money received under the proposed consent
judgment for political lobbying activities; and (4) will submit to the Court, the United States, and
the parties a letter describing how the SEP funds were spent. In a letter dated April 21, 2016, the
Sonoma County Human Services Department, which administers the Sonoma County Youth
Ecology Corps, confirmed that any funds received by the organization as a result of the proposed
consent judgment would be used solely for the purposes outlined in the agreement and that no
portion of the funds would be used for political lobbying activities; a copy of the letter is
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attached. The United States believes that this letter will help to ensure that any monies expended
under the proposed settlement agreement will be used in a manner that furthers the purposes of
the Clean Water Act and that is consistent with the law and the public interest.

        Given these representations and the facts of this case, the United States has no objection
to the proposed settlement agreement. We accordingly notify the Court of that fact.

        The United States affirms for the record that it is not bound by this settlement. See, e.g.,
Hathorn v. Lovorn, 457 U.S. 255, 268 n.23 (1982) (Attorney General is not bound by cases to
which he was not a party); Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found. Inc., 484 U.S.
49, 60 (1987) (explaining that citizen suits are intended to “supplement rather than supplant
governmental action”); Sierra Club v. Electronic Controls Design, 909 F.2d 1350, 1356 n.8 (9th
Cir. 1990) (explaining that the United States is not bound by citizen suit settlements, and may
“bring its own enforcement action at any time”); 131 Cong. Rec. S15,633 (June 13, 1985)
(statement of Senator Chafee, on Clean Water Act section 505(c)(3), confirming that the United
States is not bound by settlements when it is not a party). The United States also notes that, if the
parties subsequently propose to modify any final consent judgment entered in this case, the
parties should so notify the United States, and provide a copy of the proposed modifications, 45
days before the Court enters any such modifications. See 33 U.S.C. §1365(c)(3).

        We appreciate the attention of the Court. Please contact the undersigned at (202) 305-
0641 if you have any questions.


                                                      Sincerely,

                                                      /s/ Frederick H. Turner
                                                      Frederick H. Turner, Attorney
                                                      U.S. Department of Justice
                                                      Environment & Natural Resources Division
                                                      Law and Policy Section
                                                      P.O. Box 7415
                                                      Washington, D.C. 20044-7415

cc:    Counsel of Record via ECF

Attachment




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